(For headnote, see Mullen v. Canal Co., ante, 496.)
This is an action to recover damages for alleged injury to the plaintiff's land by the defendant throwing mud, sand and water thereon, and further flooding it by filling up the sweat and lead ditch which was necessary for its proper drainage. This ditch was on the plaintiff's land.
This is one of a series of cases arising out of injuries inflicted upon abutting landowners by the defendant in deepening and widening its canal in 1898 and 1899. It is identical in principle, and practically so in its essential facts, with Mullen v. Canal Co., ante, 496. It is, therefore, unnecessary to repeat the discussion so fully entered into in that *Page 508 
case, as we see no error in the conduct of this case or the charge of the court of which the defendant has cause to complain.
Affirmed.
Cited: Pinnix v. Canal Co., 132 N.C. 125.
(742)